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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

JAMES RAPER,

         Plaintiff,

v.                                                            Case No: 8:12-cv-2591-T-30AEP

WORLDMARK, THE CLUB
INCORPORATED,

         Defendant.


                                         ORDER OF DISMISSAL

         Before the Court is the Joint Stipulation of Dismissal With Prejudice (Dkt. #7).

Upon review and consideration, it is

         ORDERED AND ADJUDGED as follows:

         1.       This cause is dismissed with prejudice, with each party to bear their own

                  attorney’s fees and costs.

         2.       All pending motions are denied as moot.

         3.       The Clerk is directed to close this case.

         DONE and ORDERED in Tampa, Florida, this 25th day of March, 2013.




Copies furnished to:
Counsel/Parties of Record
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